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Re: GeigTech East Bay LLC y. Lutron Electronics Co., Inc. kt”
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Case No. 1:18-cv-05290-CM wey

  

Dear Hon, Colleen McMahon: o° vO

 

The present action is a consolidated case involving two lawsuits brought by Plaintiff
GeigTech East Bay LLC d/b/a J Geiger (“J Geiger”) against Defendant Lutron Electronics Co.,
Inc. (“Lutron”) concerning Lutron’s ongoing sales of its Palladiom Shading System, which
infringe trade dress and patent rights owned by J Geiger. On September 10, 2020, this case was
consolidated and stayed pending the outcome of Lutron’s request for a Post-Grant Review
(“PGR”) of the patent-in-suit in this case, U.S. Patent No. 10,294,717 ¢°717 patent”). See Dkt.
128.

On December 3, 2020 J Geiger filed a third suit against Lutron based on the Palladiom
Shading System’s infringement of U.S. Patent No. 10,822,872 (the “’872 patent”), which was
issued by the U.S. Patent Office (“PTO”) to J Geiger on November 3, 2020. The ’872 patent is a
continuation of the ’717 patent. This new suit (Case No. 1:20-cv-10195, referred herein as “Case
3”) was assigned to Your Honor as related to this consolidated case, ] Geiger writes to request an
order from the Court to allow J Geiger to use documents produced by Lutron under the Protective
Order in this case [Dkt. 106 (“PO”)| in support of a motion for preliminary injunction in Case 3
(the “PI Motion”).

J Geiger is filing the PI] Motion in Case 3 because of the factual record developed in the
prior litigation as weil as the legal issues that have been resolved since support enjoining Lutron.
First, Lutron has produced numerous documents admitting it copied the patented products of J
Geiger based on customer demand for Lutron to have a similar product and to stop J Geiger from
gaining market share. These are the documents J Geiger asks the Court to allow it to use in the PI
Motion. Second, the Court has construed terms in the prior litigation that are related to key terms
in the ’872 patent and support infringement of that patent. Third, every argument Lutron has made

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